AQ 72A
(Rev. 8/82)

 

 

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In the Gnited States District Court
Por the Southern District of Georgta
Brunswick Dibision

ANETRIA M. WALTHOUR,
Plaintiff, CIVIL ACTION NO.: 2:20-cv-89

Vv.

JEFFREY M. GRIFFIN; and TEKIN
ENTERPRISES, LLC d/b/a OPS PIZZA
KITCHEN & CAFE, INC.,

* + * *€ + * *& KF F FF OF

Defendants.

ORDER

After an independent and de novo review of the entire
record, the Court concurs with the Magistrate Judge’s Report and
Recommendation. Dkt. No. 46. No party to this action filed
Objections to this Report and Recommendation. Thus, the Court
ADOPTS the Magistrate Judge’s Report and Recommendation as the
opinion of the Court and DENIES as moot Defendants’ Motion to
Strike, or, in the Alternative, Dismiss Plaintiff's Second
Amended Complaint. The Court also LIFTS the stay in this case,

akt, no, 41.

SO ORDERED, this z ) ay \of a , 2021.

 

 

HON. oe linge WOOD, JUDGE
UNITED’STATES DISTRICT COURT

SOUTHERN DISTRICT OF GEORGIA

 
